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      M I D D L E D I S T R I C T O F P E N N S Y L VA N I A
                W ILLIAM SPO RT D IV ISIO N


William C. Toth Jr., et al.

                     Plaintiffs,
                                             Case No. 1:22-cv-00208-JPW
v.

Leigh M. Chapman, et al.,

                     Defendants


 NOTICE TO THE COURT WITHDRAWING EMERGENCY
 MOTION FOR TEMPORARY RESTRAINING ORDER AND
            PRELIMINARY INJUNCTION
     Earlier this week the Supreme Court denied emergency relief in this case,

as well as an accompanying case from North Carolina. In the North Carolina

case, Justice Kavanaugh filed a concurring opinion observing that North Car-

olina had requested “extraordinary interim relief—namely, an order from this

Court requiring North Carolina to change its existing congressional election

districts for the upcoming 2022 primary and general elections.” Moore v. Har-

per, No. 21A455 (Kavanaugh, J., concurring) (attached as Exhibit 1). Justice

Kavanaugh went on to explain that:

       This Court has repeatedly ruled that federal courts ordinarily
       should not alter state election laws in the period close to an elec-
       tion. See, e.g., Republican National Committee v. Democratic Na-
       tional Committee, 589 U.S. ___, ___ (2020) (per curiam) (slip
       op., at 2); Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam). In
       light of the Purcell principle and the particular circumstances and


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       timing of the impending primary elections in North Carolina, it
       is too late for the federal courts to order that the district lines be
       changed for the 2022 primary and general elections, just as it was
       too late for the federal courts to do so in the Alabama redistricting
       case last month. See Merrill v. Milligan, 595 U.S. ___ (2022) (Ka-
       vanaugh, J., concurring).
Id. at 1–2.

    North Carolina’s primary election is scheduled on the same date as Penn-

sylvania’s—May 17, 2022. The plaintiffs do not believe that the situation in

this case can be distinguished from North Carolina with regard to the Purcell

principle, and Justice Kavanaugh’s concurrence in Moore indicates that emer-

gency relief from this Court enjoining the implementation of the Carter Plan

for the 2022 elections would be improper under Purcell and would likely be

reversed by the Supreme Court. The plaintiffs therefore wish to withdraw the

emergency motion for injunctive relief that they filed on February 20, 2022
(ECF Nos. 8 and 10), and the renewed emergency motion filed on February

23, 2022 (ECF No. 30).

    The plaintiffs continue to believe that the defendants’ implementation of

the Carter Plan is unconstitutional and unlawful, and they will continue pur-

suing relief to restrain the defendants from using or implementing the Carter

Plan for elections subsequent to 2022. But they will not pursue that relief on

an emergency basis. Instead, the plaintiffs intend to file a new motion for pre-

liminary injunction that will ask the Court to enjoin the defendants from using

or implementing the Carter Plan after the 2022 elections have occurred. We




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have conferred with counsel for the defendants and intervenors and hope to

agree on a briefing schedule for that motion within the next few days.

                                        Respectfully submitted.

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Dated: March 10, 2022                   Counsel for Plaintiffs




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                     CERTIFICATE OF SERVICE
   I certify that on March 10, 2022, I filed this document through CM/ECF

upon the following counsel of record in this case:

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